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EXHIBIT 1
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Case 1

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Case 1:15-cv-00934-TSE-JFA Document 13-1 Filed 12/02/15 Page 3 of 52 PagelD# 89

Edidiong E. Uke

CAREER OBJECTIVE

Yo obtain a position that will allow me to develop further and utilize my diverse skills
and knowledge as a tzam player, which will help boost the image of your company.

WORK EXPERIENCE:

National Aeronautics and Space Administration/ Goddard Space Flight Center,
Greenbelt, MD, 11/2010-present
Computer System Engincer/System Administrator

» Planning and controlling the use of computing resources.

» Coordinating, maintaining, and upgrading hardware and software which
include workstations, LAN, using software development tools and packages.

© Identify and soly s technical issues during all phases,

© Develop technical reports and documentation.

© Thagnase and resulve network connectivity issues regarding IP address
conflicts.

« Maintaining the security of computer systems, ensuring security controls are
implemented throughout the system’s life cycle.

¢ Developing. implementing, monitoring and ensuring compliance to IT security
regulations,

e Periodic scans of systems for upgrades and troubleshooting of Windows 7 and
XP platforms using Dell’s Kace tool.

® Management and vonfiguration of profiles within NetIQ and AD.

Us. Department of Agriculture Headquarters (Corporate Brokers, LLC},
Washingten, D.C., 10/2009- 10/2010
Sr. Helpdesk Support Technician

2 Imaging, update installation and patching of desktops and laptops.

2 Installing, configuring and tnaintaining local area networks,

2 Managing user accounts and issues within an Active Directory environment
(AD 2003).
Assisling users experiencing issues with Citrix connectivity issues.
Coordination of new hardware project rollouts.

2 Managing and maintaining hardware and software inventory.

e Using DAME WARE 10 support users remotely.

> Managing Windows server 2003/2008, installing and updating security
patches, managing users and accounts.
Case 1:15-cv-00934-TSE-JFA Document 13-1 Filed 12/02/15 Page 4 of 52 PagelD# 90

» Configuring, managing and maintaining software applications through
DESKTOP AUTHORITY.

» Maintaining asset tracking and logs of’ hardware inventory.

2 Use of REMEDY ticketing system to retrieve and input trouble issues.

® Repair and /or coordinate repair of hardware devices with vendors.
Setup, diagnose and troubleshoot Blackberry issues through the BES.
Coordinate troubleshooting techniques with fellow team members.

¢ Troubleshovting support calls relating ty Windows 7 and XP system
problems.

U.S. Environmental Protection Agency Headquarters (KForce Staffing, LLC),
Washington, D.C., 02/2009-10/2009
Systems Support Technician

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‘Troubleshooting user hardware and software issues,

Troubleshooting Lotus Notes mail issues.

Diapnosing and troubleshooting network and local printing cases.

PC and laptop configurations and imaging such as Symantec Ghost imaging.
Managing Domino Mail Servers.

Managing users through Active Directory 2003.

Server lape backups using Veritas backupexce.

Performing upgrades and system updates to anti-virus patches, and mobile
devices,

Applying security patches and upgrades’updates to servers and client systems
through System Center Configuration Manager (SCCM) 2007 SP1.
Configuration and support of blackberry phones for users through BES.
Managing, configuring and updating software through ZENWORKS and
Vitware systems.

Office of Unified Communications, Washington, D.C., 12/2008 - 06/2009
IT/Telephony Specialist

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lroubleshoot and support Sentinel and Avaya applications.

‘Tracking faulty hardware systems such as CIM cards and phones

Retrieving 911 emergency calls from server for cases,

Resolving issucs through HEAT tcketing system.

Ensuring that workstations are set up for 911/31] applications.

Ensuring that all phones are functional and the applications.

Configuring and resolving workstations through TCP/IP and protocol settings,
hub and switch connections.

Handling Computer-Aided Dispatch (CAD) and Pietometry applications.
‘Training of employees on various areas of application procedures and methods.
Updating antivirus and security patches.

Backup and retrieval of stored calls on the servers.
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U.S. Coast Guard Headquarters (The Centech Group Inc.), Washington, D.C.,
05/2006 -12/2008
Systems/ Helpdesk Analyst

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Used and support the MS Office suite and Windows desktop operating systems
Used and support Active Directory to create and manage user accounts.
Installed, configured and maintained server hardware and software.

Used MS NGS in an Active Directory environment.

Immediate response to users having issues via e-mail, phone, walk in or
REMEDY ticket.

Assisicd users with basic 3COM-based VOIP phone issues,

Managing Windows server 2000/ 2003, installing and configuring security
patches through the System Management Server (SMS) 2003,

Diagnosed and troubleshot hardware and software based issues

Interacted with users at all levels to respond to requests for technical expertise
Used remote assistance to troubleshoot user issues.

Tested of the integrity of new applications and software before distribution.
Checking of infected workstations that may compromise network security,
Assisted users with Citrix and VPN connectivity issues.

Medical Services, U.S. Department of State (Teksystems, Inc.), Washington, D.C.,
04/2005-05/2006
Junior Systems Administrator

» Diagnosing and troubleshooting laptops, desktops, printers and scanner
issucs.

e Managing and setting up user accounts using Active Directory 2003.

2 Troubleshoot network connectivity issues.

® Applying appropriate permissions to files and folders on the server.

e Troubleshooting and maintaining Windows XP Pro and 2000 Pre platforms.

° Keep track of server run rates to determine efficiency.

¢ Provide support for department-related software like for E-MED database,
Standard troubleshooting of MS Office Suite 2000, 2003 and XP.

» Mediator between vendors and IT unit.
Used LANDesk to rapidly respond user requests for help.
Used HEAT & Paragrin ticketing applications as call tracking system.

2 Daily checking and clearing of logs on the server such as application, security
and system logs.

» Building and imaging of machines for users.
PC configuration using Sysprep, Symantec Ghost, Zenworks.

e Assist users remotely using Carbon Copy.
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‘Train new users on basic nelwork essentials and computing policies and
procedures.

“Assisting users over the phone domestically and those on foreign
assiznments.
Tape backup management using Veritas.

Epstein, Becker & Green, PC ( Teksystems, Inc), Washington, D.C., 01/2005-

04/2005

Desktop Support Specialist

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Respond to customer requests for support via e-mail, telephone, walkups,
call-tracking software.

Provide support to Dull and IBM lapiops and desktops by replacing faulty
peripherals. such as hard drives, power supplies, memory sticks, keypads,
monitors and BIOS batteries.

Troubleshoot network connectivity issues.

Track issues and trouble tickets using HEATS.5 until resalved.

Resolve remote user issues such as VPN Dial-up and Citrix

Basic troubleshooting of Desksite DMS.

Setting up of audiovisual conferencing.

Daily changing of backup tapes.

Record maintenance of hardware in asset database.

Participate in team projects that enhance the quality of service.

Support of Windows XP Professional and Win2Kpro operating systems.
Basic troubleshooting of MS Office 2003 and XP as Outlouk, Word and
Powerpoint,

escalate problems to proper feam/unil.

Resolving issues within a timely, standardized manner,

Creating user accounts and management through Console One.

Troutman Sanders, LLP ( Teksystems, Inc), Melean, VA , 08/2004 -12/2004
Desktop Support / User Services Specialist

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Troubleshooting hardware and software issues.

Upgrading firm-related software and hardware.

Maintaining inventory of equipments -blackberries, laptops, desktons.
projectors and pe peripherals.

Remotely accessing user machines using ALTIRES.

Imaging ‘ ghosting of new machines for the firm using Symantec.
Administering daily server backups.

Using Active Directory to manage user avcounts.

‘Troubleshooting ITP and Epson Color printer issues such as changing rollers,
replacing fusers und taking care of paper jams, cleaning toner areas and
changing toners.

Managing the Exchange 2000 server to create user profiles.
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Setting up of Video and teleconferences using Room Tracker.
Serve as a contact point lo vendors for the firm.

Immediate response to ticket requests using 1Q tracker,
Managing documents using iManage DMS,

Setting up workstations for new users.

Mogan & Hartson, LLP. ( Teksystems, Inc), Tysons Corner, VA, 07/2004 — 08/2004

Desktop §
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Steptoe &

upport Specialist
Assisting users with immediate desksidc needs,
Resolving Win2KPro and other OS issues
Diagnosing and troubleshooting hardware/ firm-sofiware related issues.
Providing support through e-mail, phone and walk-ins.
Serving as a mediator between vendors and firm
Providing valuable input as to the improvement of service and other issues.
Providing support of blackberries, PDA’s, laptops, desktops, and projectors.
Setting up of audiovisual conferences with the use of projectors.
Troubleshooting basic MS applications as Outlook, Word, Powerpoint.
Prompt response to resolving issues using HEAT 5.5 ticketing system.
Daily changing of backup tapes.
Troubleshooting VPN dial-ups and Citrix issues.
Maintaining regular inventory of firm equipments.
Handling various printer issues such as paper jams, bad fusers, toner change,
changing rollers.
Managing user’s accounts, group policies and logins within AD.
Resolving connectivity issues.

Sctup for new employees.

Johnson LLP, Washington, D.C., 04/2003 — 07/2004

Hardware / Software Support Analyst

Imaging and installing personal computers, printers and other computer
peripherals.

Assisted users to resolve computer — related problems such as inoperative
hardware or software, including network connections.

Assist with work projects such as converting to new hardware or software.
Installed and tested new software packages and upgrade of Win2KPro OS
Made and tested network connections from Hub unit to computers ensuring
each workstation was configured with accurate user information.

Analysis and troubleshooting of common computer problems and learning
new systems on the job.
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Made modular repairs and maintenance of computer equipment on a timely
hasis, thus minimizing user downtime.

Assisted in maintaining inventory and tracking of computer equipment,
supplies and accessories such as Dell, IBM, Toshiba, and HP printers,
desktops and laptops .

Made recommendations for improvements in computer system.

Created user accounts and connected them to the network.

Setting up of new systems far new employces.

I'sed VNC to remotely render assistance to clients.

The Pentagon / Navy Yard Annex ( Apex Systems, Inc), Arlington, VA, 10/2002 —

02/2003

Deployment / User Support Specialist

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Installation , upgrading and supporting Windows 2K. Pro

Diagnosis and troubleshooting of hardware and software issues

Creating and managing new user profiles

Imaging/ installation of new systems with applications to specification
Troubleshooting of LAN connectivity issues

‘Troubleshooting of MS applications such as Outlock , Outlook P xpress .
E-xplorer

Knowledge af DNS /DITCP/TCP

Navy Aircraft Warfare Center ( Apex Systems, Inc), Patuxent River, MD, 05/2002

~ 10/2002

Deployment / User Support specialist

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System building and imaging of computers

Orientation of clients to new sofiware , usernames - and navigation
techniques

Troubleshooting of hardware and sofiware like MS Outlook Express and
network connections.

Creating new user profiles and passwords within AD

Upgrading and supporting systems such as Windows NT /95 & 98 to
Windows 2k Pro and Windows 2000

Migration and Support of upplications such as *PST files , .PAI3 files, MS
Exchange 2000

Configuring and troubleshooting desktop settings

Immediate deployment of Dell computers to clients on base

Andrew's Airforce Base ( Apex Systems, Inc), Camp Springs , MD, 06/2001 -

05/2002
Case 1:15-cv-00934-TSE-JFA Document 13-1 Filed 12/02/15 Page 9 of 52 PagelD# 95

Technical Support Specialist (P/T}
¢ Installation of computers , hardware and software
» Diagnosing and troubleshooting of PC's ina Windows environment
Accurate response to trouble calls and effectively providing solutions
® Dtagnosis and troubleshooting of MS Office suite
2 Migration , configuration and troubleshooting of desktop settings
¢ General hardware maintenance
*© LAN support

The Alaniscalco Law Firm,Washington, D.C,, 11/99 - 05/2002
User Support / PC Technician
¢ Diagnosing and troubleshooting of desktops such as Dell Optiplex GX1 ,
Compaq , IBM PCs
® General upgrade of’ systems to current OS either manually or using RIS
® Installation of hardware and software in PCs
® Diagnose and troubleshoot network connectivity issues
a Assisi in grealing and managing users in Windows NI environment
2 Problem resolution of clients in certain applications like MS Word , Excel,
PC Anywhere and PC Does
* Preventive maintenance duties on PCs
» Litigation support using Dataflight’s Concordance, Summation, Casemap,
JP'S litigator notehook and Westlaw

Education & Training
B.8c., Potomac College Washington . D.C.
Major: Information Systems Management (Network Security track) (GPA 3.23)

Civil Law, University of Uyo, Akwa [bom State, Nigeria (GPA 3.71)

B.Sc., Business Management, Akwa Tbom State Polytechnic, Akwa Tbom State, Nigeria
(GPA 3.40)

Socrates Technologies Center, Largo MD. :- A+ , MCP certified ; MCSE candidate

Help Besk Support , Desktop Support Specialist , Dell Certified Systems Expert (DCSE),
PC repairs , Windows 95/98, Windows 200U Professional, XP/ XP Professional, System
migration and staging , Exchange 5.5, Laptop imaging, Working with HP laserjet 4030,
4000, 4250, 8000.8100, 2430, 2300, 4350; Color Laserjet 4650 and 5550 printers, by
changing toners, fusers, rectifying paper jams and taking care of error messages that may
appear, connec! printers to networks, configuration of printers, working with fax
machines, Mitachi DDP92 printers, Fujitsu M4020 scanners, Sony, Dell and [BM laptops.
Case 1:15-cv-00934-TSE-JFA Document 13-1 Filed 12/02/15 Page 10 of 52 PagelD# 96

Active Directory 2003 management, Applying permissions to folders on the server,
monitoring run raie of servers, troubleshoot access to folders and files on server. Run
backup daily on servers.

REFERENCES AVAILABLE UPON REQUEST
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sO27C Margate Ct Sterling Virginia 20164 703-593-1403 ¢ 571-313-9353 o é

- veronicamkartuki@gmail.com » OM

Executive Summary

kxperienced IT resource with leadership and practical experience in hardware, infrastructure,
communications and software engineering, Independent self-starter with initiative and drive to achieve
results quickly. Excellent communication, sales, service, and client management skills, Consistently rated
high for quality customer service, Effective working independenily or as a team member with colleagues
and clients of diverse buckgrounds and experiences, Currently seeking career advancement as a
consultant (0 hardware infrastructure and software engineering projects as a consultant to the
organization.

* Business Sales Management

» Remote services and On-site repair technician skills and knowledge

» Geek Squad Supervisor- individualized hardware testing. analysis, and repair

* Lockheed Martin Software Engineer- software developer, website designing,

tesier
Talk Tyne Nelwore seif-motivator, self-starter, successful business owner
» Basma Communications: strong sales leading capabilities. successful regional
sates developer

Technical Qualifications

UNIX, WP UX, At, 1C3, C++, C, JAVA, HTML, Photoshop, Flash, Preamweaver, Technical
Service & Support for both Wincows and Macintosh environments (WinXP, Vista, Win7, and Win
8 operating platforms and CSX platforms); Configure iOS and Android operating system devices;
Microsoft Outlook email cliert; Parallels, WM Ware, and other virtual environments; Manual
Virus Removal Skills, Haréware/Software Repair Skills, Data Migration Skills

Education
» Morgan State University Bachelor af Science Computvr Science, Computer Programming

University of Maryland University College Master of Science IT Management/Business
Management —

 

Staples, Inc. (July 2012 - Present)
Staples is the Jeading international business supply and technology organization.

Meo anlaigoces, Responsible for driving business results by delighting and engaging a team to
reach goals of the company and satisfying clients and customers whiie building a strong sales force
via technical and wireless services and top-line sales. Responsible for technical repairs and service
to clients both on-site and in-store locations.

Microsoft Certified Windows 8 Consultant (Staples).

Perform on-site technical repair services in client homes and offices as needed and required, Filter
client service calls and deliver solutions to client issues via phone.

Install and replace computer hardware and software for PCs and Mac computer systems as required.
Perform data backups and data transfer services. Perform quality controlled inventory and analysis
of hardware and software client units.

Develop solid customer technical solutions.

Create trouble tickets via OMS system to manage client service issues in a FIFO manner as well as to
update, track, resolve and complete tickets effectively.

Develop and build customer retention.
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Geek Squad/Best Buy Inc. Reston, Va. (November 2008 ~ July)
qi he Creek Squad is a subsidiary of the Best Buy Company that offers various computer-related services and accessories for
residential and commercial clients. The Geek Squad prowides services in-store, an-site, and over the internat via remote access.

wimpy | eee elle eo, (Supervisor) Introduced and trained clients on utilization of
various operating systems. Performed individualized hardware lesting, analysis and repair as well as
determined rvot-cause issue, Duties also include Installing, updating. and troubleshooting applications
and sofiware packages. Motivate, manage, and promote the daily operations of a Geek Squad Precinct.
Supervise and motivate a technical team. Responsible for networking and internet configurations,

computer and hardware installations, computer repair and diagnostics, and remote services.

 

Highlights:

Best Buy is an authorized Apple Corporate Reseller/Retailer. Developed a working knowledge of iOS
and OSX operating systems. Install and repair OSX operating systems and hardware for Apple computer
clients, Restore OSX and Windows operating systems to factory requirements. Update software
packages and deploy operating systems as needed.

Maintain, menage, and configure Android operating systems, iOS operating systems, OSX operating
systems and Windows operating systems for client use.

Required to build a successful department by structurally attaining daily, weekly, and monthly revenue
goals/quotas.

Manage the productivity of 11 Tectinical Sales Agents via governed metrics used by company and client
satisfaction metrics.

Manage client issues to develop a genuine level of satisfaction & rapport between client & company.
Educate Technicul Sales Agents in service duties required to be productive while meeting expected turn-
times.

Delegate, couch umd train direct reports to perform Dept. of Defense drive wipes to effectively destroy
data and remnants of client information;

Coach and truin direct reports to perform memory and hard drive stress testing to determine the
effectiveness of RAM modules and hard drives.

Provide IT support services such as assist clients with Microsoft Outlook errors and establishing email
chent,

Assess and diagnose client hardware and suftware issues with other software including QuickBooks and
Quicken.

Effectively train and coach direct reports to accurately perform hard drive repairs on units with bad
sectors.

Coach and train direct reports to accurately perform data transfers/backups to protect cliont information
while not transferring infected files to new media.

Recover and install OS systems including Win 7 and Win 8, Vista, XP, OS X.

Effectively perform virus removals both manually and via several automated techniques.

Conduct hardware repairs to standards of A+ (CompTiA) standards to correct device issues including
motherboard replacements and processor installations.

Coach and train direct reports to build complete, operable computer systems for client use.

Employee Experience Committee Captain. (December 201 0-January 2012)

Motivate & encourage over 100 employees to have a dynamic employee engagement
while working with Best Buy. Direct all employee functions including volunteering
engagements for the location. Develop and execute affairs for the employee and act as a
liaison between the employees and the leadership staff. Meet weekly with leadership staff
to discuss new avenues to conquer with employves in addition to issuing employee
concerns and desires while still maintaining a great experience in the workplace. Results-
changed the employee view and moved the team 400 basis points to having a great work

environment.
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Basma Communications. White Marsh, Md, oucei) Soa a (November 2006 ~ March 2007)

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Basma Communications isa regional comnunivations conpany that provides voice, data, and internet telecommrunications
Services (0 Individual and business customers.

Verizon Wireless, Bowie, Md. Technical Representative (October 2004 - November 2006}

Ferizon Wireless eperdies one ofthe nation's most reliable and largest wireless voice and data network. Providing America's
largest Mobile-to-Mobtle calling family of more than 80 million subscribers, the company offers customers with a high level of
satitfaction by affering a wide variery of quality producis and services

Talk Tyme Networx. Baltimore, Md, Business Owner/Manager. (January 1999 — May 2001) Entrepreneur Venture.
Owned and operated a retail wircless communications company.

Lockheed Martin. Greenbelt, Maryland, Software Engineer (August 1996 — November 1997)
Luckheed Martin Corporation is a vlcbal company that envages in the research, design, development, manufacturing,
intagrarion, and sustainment of advanced technology systems, products, and services in the US and ubroad. The company's

priman busine s segments ar: Aerondulics, Electronic Systems, Infarmation Systems & Gt: bal Services, and Space Systems.

Awards and Certifications

1C3 Certiport Computing Skills

Morigage Loan Officer Certification
* Maryland EDGE Business Center Entrepreneurial Award of Achievement
* Society for the Advancement of Computer Science Award

NASA High Performance Supercomputing St Scholarship
* Gladys M. Finney Scholarship

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Case 1:15-cv-00934-TSE-JFA Document 13-1 Filed 12/02/15 Page 14 of 52 PagelD# 100
| Cari

REFERENCES

Janet V. Hill, President, Hil! Family Advisors 202-546-0111 hillyjanet@aol.com

Br. Louise Johnson, President, MULBA & Powermakers INC Baltimore MD 416-521-7001

Dana Long, President, D. Long & Associates Bowie MD 866-567-9727

Rick Anderson, District‘General Manager, Best Buy Reston VA 310-594-7158 rick.anderson2@bestbuy.com
Brandon Dunaway, Operations Manager, Best Buy Reston VA 703-785-2795

Haslyn Parris, Assistant Manager, Verizon Wireless Gowie Maryland 301-254-8417

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Customer Engineer 6 - Dell Driving Tech
Location: Alexandria, VA
Duration: 6-12 months

40 hours per week

150 miles

Great customer satisfaction and communication skills.

At Certification- Now required

Experience with replacing hardware components in desktop computers in a professional
environment. Hardware components include motherboard, processor, memory, etc.
Experience with replacing hardware components in laptop computers in a professional
environment, Hardware components include motherboard, processor, LCD screens, etc.
(Preferred but not required)

Must be willing to drive up to 750 miles per weck. Typically will drive under 500 miles a week.
Dress code is business casual.

Work hours are Mon Fri 9:00 AM to 5:30 PM with a 30 minute lunch.

MUST be a US Cit.

uration: Long term

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Consultant 2.doc

Submitted Resume:

Veronica Kariuki, doce
Veronica Kariuki:

Reason for disqualification:

2 Over qualified
# Manager Title

Reason for sending Edidiong E. Uko

» More hands on

Result of the Submission — The candidate submitted was not selected by the client. We did not
fill the position.
 

- Forwarded message
From: "Kumar Nagde" <knagdev@etédrtiine com>
Bate: gul 31, 2013 17:57 AM
Subject: JOB OPPORTUNITY - FIELD TECHNICIAN - ALEXANDRIA, VA,
Te: <veronicamkariuki@ermell canmn->
Ce:

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iy Hane is Kumar and | ana teshilier at e Yaar ing. a¥esat Ine le a glekel guntingeney etafing fen
servicing fortune 1000 clients globally. We have en exesllentiay appartunity with erie of our eltent

 
Case iat Gy poe ss SEJEA Document 13-1 Filed 12/02/15 Page 17 of 52-PagelD# 103
customer salisiaction end communieation skills.

be Cartfication- Required
Experience with replacing hardware componante In desklep cariputers in a prefeasional

environment. Hardware companents include mothersoard, processor, memory, ete.

Experience with replacing hardware components in laptop computers in a professional environment.
en components include motherboard, processor, LCD screens, etc. (Preferred but not

reque

Typically will drive 200-500 Miles 4 week. Should be willing to drive 750 miles a week.

Work hours are Mon Fri 9:00 AM to 5:30 Pil with @ 30 minute lunch. No overtime and candidates
must report only the hours they actually work.

 

Vyau ace qualidad, auailehle, interested, slannity ia make a shange, or knew of o fiend whe might aava
the required quailfications and interest, piease ca!| mea ASAP at (732) 248-1900 ExLSZ6 even ifwe have
spoken recently about a differant position. if you de raspend via e-mail please include a daytime shone
number so | can reseh you.

4is@, please take a few minutes ip answer same ef the questions below as they will help me qualify yaur
gandidature

Pull Legel Name as in Briving Ligenge! Banepasti
Preferred email IB:

Bay/ Evening shane munkera:

Gurrent Lezatian:

Work Authorization:

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Earliest pessibls stert dats:

Twe Professional Referansaa:

Ales, bs aware that aur client sanduete af extenelua-beakgrauad checks en candidates wha ave axiended
affers of employment,

Sincerely yours,
durmer Nasdey

eTeanm ine
knegdev@esamine.com

(732) 248-1906 Ba, $25

40604 Burhan Avenue Suite 204
South Plainfield, NJ, O7680

Nete: Please aliew me te relrernte that | cheae ta canisat you alther ecauee your resume had been pasiad
to one of the Internet job sitea to which we subseribe, or you had previously aubritied your resume to
eTeam Inc. | assumed that you are either ionking for s naw employment opportunity, of you are interested
in investigating the current job market.

fyou ara Ret curently seoking ampleyment, or it yeu woulg prefer! contact you al same later date, please
indicate your date ef availability ae that! may honor your request In any event, { respectiully recommend
you continue to avail yourself to the employment optiens and job market infonmation we provide with our e-

mail notices.
usuis CASE 1:15-CV-00R34. hSiedmA..Decument 13-4-- Filed 12/02/15 Page 18 of 52 PagelD# 104

Thanks ageln.Kurnar

if you would like to unsubscribe, please eligk hava.
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From: Kumar Nageev <knadey Wpteam) ne coat
Date: Mon, Aug 5, 2013 at 12:23 Pid :
Subject: RE: Resume

To: V Kariukl <yvaronjcamkariukh@ enw it aces
Hi Veronica,

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Field Job,

Thanks & Regards,

Kumar Nagdev
Technical Recruiter
‘eTeam Inc ~- “ACCELERATES HINES”
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From V Karluk) [paiito:yeronleanharull game), gare)
Sent: Monday, August 05, 2013 12:18 EM

To: Kumar Nagedev

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